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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


WILLIAM GOMEZ

               Plaintiff,

v.                                                                  16-cv-424

ZRD, LLC,

               Defendants.




       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that all
claims asserted in the above captioned case may be dismissed with prejudice and on the merits,
and that this Court may enter an Order dismissing the action with prejudice and without fees,
costs, or expenses.

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